Case 2:04-cr-20223-.]PI\/| Document 114 Filed 06/21/05 Page 1 of 2 Page|D 198

FILE£`J BY D C
IN THE UNITED STATES DISTRICT COURT "“ ‘ '
FOR THE WESTERN DISTRICT OF TENNES§FJEN 2 |

WESTERN DWISION PH 3" ‘J
HOBEH~[- R' D' '~¢~
UNITED srArEs oF AMERICA, * SIDEP~'KE u.e. ici§fiogi~)
' ~ O» TN, MEMPHJS'
Plaintiff, *
v. * CR. No. 2104cr20223-B
MICHAEL PRlNCE, *
Defendant. *

 

ORDER GRANTING DEFENDANT’S MOTION FOR
ADDITIONAL TIME IN WHICH TO FILE PRETRIAL MOTIONS

 

This cause having come before this Court on the Q, l 60 day ofJune 2005, upon the motion
of defendant to allow for additional time in Which to file pretrial motions; and the Court having
considered the motion of the defendant, the positions of the parties, and the record hereunder, is of
the opinion that the motion is Well~taken, and hereby GRAN'I`S the motion.

Defendantishereby granted additional time, that is until § 2¢ z 353 gi 5 §§ , 530€).§:

in which to file pretrial motions in this cause.

L=l[ c>f

DATE H N RABLE J DANIEL BREEN
tr D srATEs DISTRICT COURT JUDGE

 

   

UNITED `sATEs DISTRIC COUR - W'"RNTE D's'TRCT OFTENNESSEE

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This notice confirms a copy ofthe document docketed as number 114 in
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Honorable .l. Breen
US DISTRICT COURT

